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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

HOWARD C. FABIAN,

        Plaintiff,

v.                                                       Case No. 3:12cv437-JAG

HERITAGE ANTIQUES AND
COLLECTIBLES, INC.,

        Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        The Plaintiff, Howard C, Fabian, in the above styled case pursuant to Rule 41(a)(1) of the
Federal Rules of Civil Procedure and hereby gives notice of voluntarily dismissing Heritage
Antiques and Collectibles, Inc., with prejudice, as the parties amicably resolved this matter.


        Respectfully submitted this 5th day of September, 2012.



_______/s/_____________________                      ____________________________
Jonathan H. Walker, Esq.                             Michael A. Chester, Esq.
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                                  CERTIFICATE OF SERVICE

I certify that on September 5, 2012, I will electronically file the foregoing Notice of Voluntary
Dismissal With Prejudice via the CM/ECF System, which will then send a notification of such
filing (NEF) to the following:


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                                      /s/ Jonathan H. Walker
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